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IN THE UNITED STATES DISTRICT CouURT
FOR THE NORTHERN DISTRICT OF tLtindis -
EASTERN DIVISION

VIGUEL RuDOY (9.01- 01193)
PLAINTIFF,

THOMAS G-BRUTON
CLERK, U.S. DISTRICT COURT

CASE. NO. 99-CV-07183
Y

JUDGE VL. DAVID WEISMAN _

SUPT COBBLE, SuPT ROCCO, SuP'T IRACHETA,
SUP'T MARTINEZ _

DEFENDENTS,

PLAINTIFFS REQUEST FOR PRODUCTION OF DOCUMENTS

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'OLICY 12.05, POLICY (302, POLICY 203. POLICY 1204, POLICY 1005.

2, COOK COUNTY DEPARTMENT OF CORRECTIONS PROCEDURES MANUAL: PROCEDURE 124,

ROCEOURE 12:3, PROCEDURE (ou, PROCEDURE 12.5, PROCEDURE (35, PROCEDURE [35,

ROCEPURE. 300, PROCEDURE 100, PROCEDURE 701, PROCEDURE. 702, PROCEDURE 400,

ROCEDURE 903, PROCEDURE 903, PROCEDURE 904, PROC EQURE q05, PROCEDURE LOL,

'ROCEDURE 1301, PROCEDURE 1302, PROCEDURE 1303, PROCEDURE 1304, PROCEDURE 1305.

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WIGUEL RuDDY eect SUBMITTED,
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Case: 1:22-cv-07183 Document #: 83 Filed: 03/21/25 Page 3 of 4 PagelD #:2885

CERTIFICATE OF SERVICE
MIGUEL RUDDY HEREBY CERTIFY THAT 1 HAVE CAUSED TRUE & CORRECT COPIES _OF _
_THE ABOVE & FOREGOING To BE SERVED ON DEFENDANTS ON MARCH 19™ 9035 _

__MIA EIRST CLASS LS MAILING To THE ADDRESS BEIOW!

MARK KUMMERER Mpigusl Rude
ASSISTANT STATE'S ATIORNEY MIGUEL RUDDY
5OO RICHARD J, DALEY CENTER 03-14-95

CHICAGO. IL G0G02-
mark. Kummener @cooX courtysa0, org
(312) 603-5439

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